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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 LISA STRZYKALSKI,

                Plaintiff,
                                                     No. 23 CV 1284
           v.
                                                     Judge Manish S. Shah
 BOARD OF EDUCATION OF SUMMIT HILL
 SCHOOL DISTRICT NO. 161, PRINCIPAL
 LAURA C. GOEBEL, and
 SUPERINTENDENT PAUL MCDERMOTT,

                Defendants.

                             MEMORANDUM OPINION AND ORDER

         Plaintiff Lisa Strzykalski was a junior high school teacher when she overheard

one of her students complain that she was sexually assaulted by another student.

Strzykalski reported the accusation to the Department of Children and Family

Services. Strzykalski was then suspended, transferred to another position, and

denied rehiring at the junior high. She brings claims against defendants Laura

Goebel (the school’s principal), Paul McDermott (the district superintendent), and the

school district board for retaliation under Title IX and the Illinois Whistleblower Act.

Defendants move for summary judgment.

I.       Legal Standard

         Summary judgment is warranted if there are no genuine disputes of material

fact, and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).

“‘Material facts’ are facts that ‘might affect the outcome of the suit,’ and a dispute as

to those facts is ‘genuine’ if ‘the evidence is such that a reasonable [finder of fact]
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could return a verdict for the nonmoving party.’” Hunter v. Mueske, 73 F.4th 561, 565

(7th Cir. 2023) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). A

court need consider only the cited materials, but it may consider other materials in

the record. Fed. R. Civ. P. 56(c)(3). The non-moving party is given “the benefit of

conflicting evidence and any favorable inferences that might be reasonably drawn

from the evidence.” Runkel v. City of Springfield, 51 F.4th 736, 741 (7th Cir. 2022).

II.    Facts

       Plaintiff Lisa Strzykalski was a teacher at Summit Hill Junior High School,

part of Summit Hill School District 161. [95-2] ¶ 1. 1 Defendant Laura Goebel was

principal of Summit Hill and defendant Paul McDermott was district superintendent.

[95-2] ¶¶ 2, 4.

       In October 2021, one of Strzykalski’s students, Student A, said to her classroom

partner that another “student sexually assaulted [her].” [95-2] ¶ 7. Strzykalski




1 Bracketed numbers refer to entries on the district court docket. Referenced page numbers

are taken from the CM/ECF header placed at the top of filings, except in the case of citations
to transcripts, which use the transcript’s original page number. When a document has
numbered paragraphs, I cite to the paragraph, for example [95-2] ¶ 1.
The facts are largely taken from Strzykalski’s response to defendant’s Local Rule 56.1
statement, [95-2], and defendant’s response to Strzykalski’s statement of additional facts,
[101], where both the asserted fact and the opposing party’s response are set forth in one
document. Any fact not properly controverted is admitted. N.D. Ill. Local R. 56.1(e)(3); see
Cracco v. Vitran Exp., Inc., 559 F.3d 625, 632 (7th Cir. 2009); [95-2] ¶¶ 41–44, 48; [101] ¶¶ 3–
4, 15–16. I disregard all immaterial facts and legal conclusions. I also ignore facts included
in statements or responses that are not supported by the parties’ cited evidence. N.D. Ill.
Local R. 56.1(d)(2), (e)(3); see [95-2] ¶¶ 37–40, 48, 51; [101] ¶¶ 22, 28, 32–33, 39. General
objections to how facts are characterized, see [95-2] ¶¶ 8, 13, 22, 24–25, 34, 37–38, 49–51, 57;
[101] ¶¶ 5–6, 10, 15, 35, are sustained and I omit the characterizations and rely on the
underlying evidence when possible. Defendants’ hearsay objections are sustained. [101] ¶¶ 8–
9, 27. When the parties dispute facts and both rely on admissible evidence, I set forth both
sides’ facts.

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testified that the student was looking directly at her when she made this statement.

[101] ¶ 1. According to Strzykalski, the student appeared to be stressed and anxious,

when she was typically a “very bubbly, happy-go-lucky kid.” Id. Strzykalski checked

in with the student and asked her if she had reported the allegation to anyone else.

[95-2] ¶ 8; [101] ¶ 2. The student replied that she had told another teacher, who had

her write down the allegations. [101] ¶ 2. Strzykalski did not press the student for

more details because she did not want to further upset her. [101] ¶ 3. Strzykalski

then joined a group of students including Student A and at some point, commented

on religions that do not celebrate Halloween. [95-2] ¶ 12. Student A was called out of

the class before the end of the period. [101] ¶ 3.

      After class, Strzykalski sought out the other teacher and discussed the

student’s accusations. [101] ¶ 4. The other teacher says that she told Strzykalski that

the student did not use the words “sexual assault,” and that the situation relayed was

not a sexual assault. [95-2] ¶ 13. Strzykalski says that the other teacher told her that

the student used “different verbiage,” but did not share the details of the allegations.

Id. The other teacher told Strzykalski that she was letting the administrative team

handle the accusation and that she did not learn any information that would prompt

a DCFS report. [95-2] ¶ 24; [101] ¶ 6. She added that if Strzykalski had heard

something different, it was her responsibility to report it. [95-2] ¶ 24. The teacher

reported to Goebel that the student felt three boys had “sexually harassed” her by

clapping and directing inappropriate language to her while they were walking around

the school’s track. [95-2] ¶ 10. Upon receiving the teacher’s report, Goebel realized



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one of the students involved was her son, and because of this conflict, she directed

the associate principal to investigate the matter. [95-2] ¶ 11. The teacher did not tell

Strzykalski what she specifically reported. [101] ¶ 7.

      The next day, Student A’s parents unexpectedly arrived at the school and met

with Goebel. [95-2] ¶ 14. They demanded to speak with Strzykalski, saying that she

had made inappropriate statements referencing religion. Id. They called the

comments a “hate crime,” and demanded Strzykalski be terminated and Student A

be removed from her class. Id. Goebel spoke with Student A after her parents left,

who verified Strzykalski’s comments offended her and said she was not comfortable

returning to Strzykalski’s class. [95-2] ¶ 15.

      Goebel called Strzykalski to her office with a union representative to discuss

the alleged comments. [95-2] ¶ 16; [101] ¶ 5. Strzykalski did not deny the

conversation with Student A but claimed the statements were taken out of context.

[95-2] ¶ 17. Strzykalski repeatedly attempted to raise Student A’s allegations of

sexual assault, but Goebel responded that was irrelevant to the meeting and that

Strzykalski should go to the associate principal with any questions about that

situation. [95-2] ¶ 20. Strzykalski says that Goebel told her that she was not allowed

to speak Student A about the accusation and complaint. [95-2] ¶ 21; [101] ¶ 5.

      Strzykalski drafted an email to a union director that summarized the meeting

with Goebel and Student A’s accusation. [95-2] ¶ 25. The union director responded

via email and text that unless Strzykalski was 100% sure the Department of Children




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and Family Services had been contacted, she needed to call or could face consequences

to her employment and teaching license. [95-2] ¶ 26.

       The next morning, Strzykalski reported the assault accusations to DCFS. [95-

2] ¶ 27. She told the DCFS representative that Student A reported she had been

sexually assaulted and had given information to another staff member who had

written it down. Id. DCFS requested that the other teacher contact it. Id. Strzykalski

called the other teacher, who said that she did not feel that making a report was

necessary. [95-2] ¶ 28.

       In the following days, the associate principal completed her investigation into

the student misconduct allegations and issued discipline to three students. [95-2]

¶ 29. Strzykalski was not informed about the outcome of the investigation. [101] ¶ 38.

       Goebel and the associate principal completed an investigation into the

complaint of Student A’s parents and issued a written reprimand to Strzykalski for

inappropriate comments. [95-2] ¶ 30. Strzykalski sent Superintendent McDermott a

rebuttal to the reprimand, asking for it to be removed from her personnel file and

objecting to the characterization of her statements as a “hate crime.” [95-2] ¶ 31. In

the rebuttal, she disclosed that she contacted DCFS about Student A’s accusation. Id.

McDermott determined that the reprimand should remain in Strzykalski’s personnel

file. [95-2] ¶ 33.

       In December 2021, Strzykalski met with a union director and another teacher

to discuss the discipline Goebel issued against her and others. [95-2] ¶ 34. The union

director asked Strzykalski what became of the DCFS report she made. [95-2] ¶ 35.



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Strzykalski did not know, so the director told her to contact DCFS for an update. Id.

When Strzykalski called DCFS, DCFS told her that it had no record of her earlier

report. [95-2] ¶ 36. Strzykalski again told DCFS of Student A’s accusation. [95-2]

¶ 37. DCFS investigated the report. [95-2] ¶ 37.

      After   the   DCFS    investigation,       McDermott   investigated Strzykalski’s

compliance with the Board of Education’s policy on mandated reporting of suspected

child abuse or neglect. [95-2] ¶¶ 38–39. McDermott found that Strzykalski’s account

of what she knew changed in interviews. [95-2] ¶ 40. He concluded that Strzykalski

had not acted reasonably under the circumstances and had not complied with Board

policy on mandated reporting. [95-2] ¶ 41. He could not reconcile that Strzykalski,

and the other teacher had responded to the situation so differently. Id.

      McDermott recommended that the Board suspend Strzykalski for five days.

[95-2] ¶ 45. In April 2022, the Board issued Strzykalski a notice to remedy and a one-

day suspension. [92-5] ¶ 47. The notice stated that Strzykalski “engaged in

unprofessional conduct by filing DCFS reports without a reasonable basis against the

son of a superior” and “failed to follow Board Policy with respect to reporting a matter

to DCFS.” Id.; [79-8] at 1. After the Board issued the discipline, Goebel was permitted

to appear in a closed session and shared a statement she prepared regarding the

impact the situation had on her and her family. [95-2] ¶ 48.

      In July 2022, Strzykalski was transferred to a position that was split across

four elementary schools, which increased her travel time. [95-2] ¶ 53; [101] ¶¶ 30–33.

Strzykalski’s end time also changed to an hour later which affected her childcare



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options and costs. [101] ¶¶ 32, 34–35. Strzykalski also contends that she lost earlier

paid stipends because she no longer held seniority. [101] ¶ 35. Strzykalski says she

didn’t reapply for these stipends on being transferred because the contract limit had

already been hit. Id.

       In Spring 2024, Strzykalski applied for a position open at Summit Hill Junior

High School. [95-2] ¶ 55. McDermott delegated the hiring process to the school’s

technology team, which did not include Goebel. Id. Another employee was hired

because his qualifications made him a better candidate for the position. Id.

       Strzykalski brought this case alleging Title IX, Illinois Whistleblower Act,

“Monell Liability,” and “respondeat superior” claims against Goebel, McDermott, and

District 161. [1], [20]. After two motions to dismiss, Strzykalski’s Title IX and Illinois

Whistleblower Act claims remain. [37], [73]. Defendants move for summary

judgment. [78].

III.   Analysis

       A.    Title IX

       Title IX provides that “[n]o person . . . shall, on the basis of sex, be excluded

from participation in, be denied the benefits of, or be subjected to discrimination

under any education program or activity receiving Federal financial assistance.” 20

U.S.C. § 1681(a). Title IX contains an implied private right of action encompassing

retaliation claims. Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 173–74 (2005).

To establish a prima facie claim, Strzykalski must show: (1) she engaged in a

statutorily protected activity; (2) defendants took a materially adverse action against

her; and (3) but-for-causation between the two. See Burton v. Bd. of Regents of Univ.

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of Wis. Sys., 851 F.3d 690, 695 (7th Cir. 2017). Strzykalski also seeks damages under

the Illinois Civil Rights Remedies Restoration Act based on her Title IX claim. See

775 ILCS 60/15, 20.

                    Sufficient Connection

       Defendants argue that Strzykalski is bringing a third-party retaliation claim

and must show that she had a sufficient connection to Student A. [85] at 8–9. In doing

so, defendants misread that law. A third-party reprisal claim arises when one

individual reports sex discrimination, but a different person suffers the retaliation.

See Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 174–75 (2011). For the second

person to succeed on a Title IX claim, they must show that they were sufficiently

connected to the reporter such that retaliation against them would deter a reasonable

person with the same relationship from reporting. Id.

       Defendants rely heavily on Conviser v. DePaul University, 532 F.Supp.3d 581

(N.D. Ill. 2021), which mistakenly applied this requirement to a reporting plaintiff.

On a second motion to dismiss, the court recognized that the appropriate question for

a reporter is whether Title IX protects the sort of interest the would-be plaintiff seeks

to advance, not whether the reporter had a sufficiently close relationship with the

victim of sex discrimination. See Conviser v. DePaul Univ., 649 F.Supp.3d 686, 696

(N.D. Ill. 2023).

       The association test would only apply here if Student A (or another person

aware of the allegations) had reported the sexual assault, and then Strzykalski

suffered repercussions for the reporter’s protected activity. See Thompson, 562 U.S.



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at 174–75. But Strzykalski’s theory is that she herself engaged in the protected

activity and then suffered the retaliation.

                     Statutorily Protected Activity

       Defendants argue that Strzykalski did not engage in a statutorily protected

activity because she did not file a complaint via the District’s Title IX process. [85] at

10. Protected activity under Title IX involves “some step in opposition to a form of

discrimination that the statute prohibits.” See O’Leary v. Accretive Health, Inc., 657

F.3d 625, 631 (7th Cir. 2011). 2

       Title IX prohibits discrimination on the basis of sex. 20 U.S.C. § 1681(a).

Ignoring gendered student on student violence can be considered sex discrimination.

Davis v. Monroe Cnty. Bd. of Ed., 526 U.S. 629, 642 (1999) (holding that Title IX

private right of action encompasses intentional sex discrimination in the form of a

recipient’s deliberate indifference to sexual harassment of a student by another).

Strzykalski says that she tried to raise the sexual assault allegations with Goebel

multiple times but was rebuffed. [101] ¶ 37. Reporting the allegations to outside

authorities counts as a “step in opposition to a form of discrimination that the statute

prohibits.” See O’Leary, 657 F.3d at 631.

       For example, in the Title VII context, courts have found that making a police

report of workplace discrimination is a protected activity. Alamo v. Bliss, 864 F.3d

541, 555 (7th Cir. 2017); Worth v. Tyer, 276 F.3d 249, 265 (7th Cir. 2001) (concluding




2 O’Leary involved a Title VII retaliation claim, but the same analysis applies under Title IX.

See Burton, 851 F.3d at 695.

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that plaintiff’s decision to file a police report “constitute[d] protected activity under

Title VII”). The ability to report what one views as sex discrimination in the context

of schools would similarly be protected activity under Title IX. Cf. 42 U.S.C. § 2000e-

3(a) (listing protected activities, including “oppos[ing] any practice made an unlawful

employment practice” by Title VII).

      Defendants also argue that Strzykalski did not intend to be Student A’s

advocate or have Title IX in mind when she made her report. [85] at 10. But

defendants provide no support for the proposition that a reporter must have specific

intentions in mind when reporting. The reporter must only be taking a step in

opposition to a form of discrimination the statute prohibits—there is no requirement

that they know the conduct reported violated Title IX. See O’Leary, 657 F.3d at 631.

      Strzykalski’s report of the alleged sexual assault to DCFS was a protected

activity under Title IX.

                    Materially Adverse Action

      Strzykalski argues that the one-day suspension, unwanted lateral transfer,

and denial of hiring were materially adverse to her. [97] at 12; [95-2] ¶¶ 47, 51, 55;

[101] ¶¶ 30–31. “[N]ot everything that makes an employee unhappy is an actionable

adverse action.” Burton, 851 F.3d at 696. An adverse action is one that

“harm[s] . . . an identifiable term or condition of employment.” Muldrow v. St. Louis,

601 U.S. 346, 354–55 (2024). The harm need not be “significant,” “serious or

substantial.” Id. at 355.

      Strzykalski presents evidence that the one-day suspension and the unwanted

transfer harmed identifiable terms and conditions of her employment. The
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suspension led to a day without pay, and the job reassignment increased Strzykalski’s

travel time and interfered with her childcare due to a later end time. [95-2] ¶¶ 47, 53;

[101] ¶¶ 33–34, 35. Such actions could well dissuade a reasonable worker from

speaking up. See, e.g., Thomas v. JBS Green Bay, Inc., 120 F.4th 1335, 1337 (7th Cir.

2024) (finding transfer to less desirable shift may constitute an adverse employment

action). Similarly, failing to hire is a materially adverse employment action. See

Baines v. Walgreen Co., 863 F.3d 656, 661 (7th Cir. 2017). These actions harmed the

conditions of Strzykalski’s employment and thus were adverse employment actions.

Defendants’ argument that these were minor inconveniences is unavailing when the

harm need not be “significant.” See Muldrow, 601 U.S. at 355. At summary judgment,

where Strzykalski is entitled to favorable inferences, these consequences could be

harmful.

                    Causation

      Strzykalski must present enough evidence for a reasonable factfinder to

conclude that the protected activities were the but-for cause of the adverse actions.

See Burton, 851 F.3d at 697. Strzykalski does not present direct evidence of causation,

so must rely on circumstantial evidence like “suspicious timing, ambiguous

statements of animus, evidence other employees were treated differently, or evidence

the employer’s proffered reason for the adverse action was pretextual.” Murphy v.

Caterpillar Inc., No. 24-1517, 2025 WL 1702982, at *12 (7th Cir. June 18, 2025).

      Strzykalski argues that suspicious timing and limited evidence of Goebel’s

animus shows that defendants’ proffered reasons were pretext. [97] at 12. To the

extent the record raises an inference that Goebel held ill will against Strzykalski,
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that does not support an inference that McDermott or the Board held retaliatory

motives when it suspended her, transferred her, or denied her application. The

evidence indicates that Goebel was not involved in these adverse actions. [95-2] ¶¶ 48

(Goebel did not speak to the Board until after the discipline was determined); 52

(Goebel did not ask McDermott to transfer Strzykalski); 55 (Goebel was not part of

the hiring committee). Strzykalski offers no evidence of remarks, conduct, or patterns

from McDermott or board members that would support an inference of retaliatory

motive. See Murphy, 2025 WL 1702982, at *13.

      As for timing, Strzykalski’s argument is weak. Her transfer occurred months

after the investigation and suspension, and the hiring denial occurred years later.

[95-2] ¶¶ 51, 55. Strzykalski does not present evidence that bridges the significant

time gap between her report and these actions. See Leonard v. Eastern Ill. Univ., 606

F.3d 428, 432 (7th Cir. 2010) (affirming summary judgment; six-month gap between

complaint of discrimination and adverse employment action was “too long to infer a

link between the two”); Argyropoulos v. City of Alton, 539 F.3d 724, 734 (7th Cir. 2008)

(affirming summary judgment; seven–week interval without more was not

suspicious). While the gap does not preclude Strzykalski’s transfer and failure to hire

claims as a matter of law, it does substantially weaken them. See Murphy, 2025 WL

1702982, at *12–13. Suspicious timing, alone, is “generally insufficient to establish a

retaliatory motivation.” Vavra v. Honeywell Int’l, Inc., 106 F.4th 702, 706 (7th Cir.

2024). And “any inference of causation supported by temporal proximity may be




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negated by circumstances providing an alternative explanation for the challenged

action.” Id.

       Defendants have presented non-retaliatory reasons for the discipline and

suspension, the transfer, and the denial of hiring. The one-day suspension was not

because Strzykalski filed a DCFS report, but because she did so without cause and,

even if she had cause, she did not follow Board policy in making her report. [79-8] at

1. McDermott transferred her because of district restructuring and no qualified

teacher applied to the position, while Strzykalski was equipped to start a new

program. [95-2] ¶ 51. And she was not hired for the technology coach job because

another candidate was more qualified. [95-2] ¶ 55.

       Thus, “the true question is whether the proffered reasons were pretext for

retaliation.” Burton, 851 F.3d at 697. Strzykalski presents no evidence to rebut

defendants’ non-retaliatory reasons. Strzykalski argues that defendants were wrong

in finding that she did not have cause to file a report. [97] at 12. But even if

defendants erred in that finding, pretext “involves more than just faulty reasoning or

mistaken judgment on the part of the employer; it is [a] lie, specifically a phony reason

for some action.” See Burton, 851 F.3d at 698. Further, defendants also suspended

Strzykalski because, even if she did have cause to report, she did not follow Board

policy to immediately do so. [79-8] at 1. Strzykalski does nothing to rebut this non-

retaliatory reason for her suspension.

       There is no evidence on which a reasonable factfinder could determine that the

filing of the DCFS report itself was the but-for cause of the adverse actions.



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Defendants are entitled to summary judgment on Strzykalski’s Title IX and her

derivative Illinois Civil Rights Remedies Restoration Act claims.

       B.     Illinois Whistleblower Act

       Defendants are entitled to summary judgment on Strzykalski’s Illinois

Whistleblower Act claims under sections 10 and 15(a) as she no longer pursues them.

[97] at 13, 13 fn.1.

       Strzykalski maintains her claim under Section 15(b), which prohibits an

employer from “retaliat[ing] against an employee for disclosing information to a

government or law enforcement agency, where the employee has reasonable cause to

believe that the information discloses a violation of a State or federal law, rule or

regulation.” 740 ILCS 174/15(b). To succeed on a § 15(b) claim, Strzykalski must show

(1) an adverse employment action by her employer, (2) which was in retaliation for

(3) her disclosure to a government or law enforcement agency (4) of a suspected

violation of an Illinois or federal law, rule, or regulation. Sweeney v. City of Decatur,

2017 IL App (4th) 160492, ¶ 15 (citing Taylor v. Bd. of Educ. of the City of Chicago,

2014 IL App (1st) 123744, ¶ 52).

       Defendants do not dispute that Strzykalski made a disclosure to a government

agency but argue that Strzykalski has presented no evidence that she believed that

her report to DCFS disclosed a violation of the law. [85] at 12. According to them,

Student A’s singular statement that she was sexually assaulted, paired with the other

teacher’s statement that she did not believe a sexual assault had occurred and no

DCFS report was needed, shows that Strzykalski had no objective facts or other

reasonable basis to believe that she was disclosing a violation of the law. Id.
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         Just because another teacher was told something different by Student A does

not mean that Strzykalski did not have a good faith basis to contact DCFS.

Strzykalski presents evidence that she was never informed what Student A told the

other teacher or the results of the administration’s investigation into the allegations.

[101] ¶¶ 36, 38. A reasonable factfinder could find that Student A’s statement

supported      Strzykalski’s belief. The statement that another student “sexually

assaulted me” is a serious accusation. Sexual assault is criminalized under Illinois

state law. 720 ILCS 5/11-1.20, 1.30. Sexual harassment in schools is also considered

a civil rights violation under the Illinois Human Rights Act. 775 ILCS 5/5A-102.

Strzykalski has presented a triable issue of fact as to whether she reasonably believed

she was reporting a legal violation when she called DCFS.

         Defendants also argue that the alleged retaliatory actions were not “materially

adverse.” [85] at 12. As discussed above, the suspension, lateral transfer, and denial

of rehiring were adverse employment actions. But like her Title IX claims,

Strzykalski has not shown that these actions were “in retaliation for” her report to

DCFS, rather than because of doing so without cause and failing to comply with

District policy, District restricting, and a more qualified candidate. The record would

not permit a reasonable factfinder to conclude that retaliatory motive caused the

adverse actions. Defendants are entitled to summary judgment on Strzykalski’s IWA

claim.




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IV.   Conclusion

      Defendants’ motion for summary judgment, [78], is granted. Enter judgment

in favor of defendants and terminate civil case.



ENTER:

                                              ___________________________
                                              Manish S. Shah
                                              United States District Judge
Date: June 25, 2025




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